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                                                                      ORIGINAL
                                                                           FILED IN CHAMBERS
                                                                              U.S.D.C. Atlanta

                    IN THE UNITED STATES DISTRICT COURT
                                                                             OCT 2 5 2023
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                                                                            Kevin P.   imer. Clerk
                             ATLANTA DIVISION                               By
                                                                               Deputy Clerk




UNITED STATES OF AMERICA                     Criminal Indictment
       V.
                                             No.       o
                                                       0   E.,
ARTHUR RAY HANSON, II                             UNDER SEAL


THE GRAND JURY CHARGES THAT:


                                     Introduction
      At all times material to this indictment:
   1. The defendant, ARTHUR RAY HANSON, II, lived in or around
Huntsville, Alabama.
   2. Fani Willis was the elected District Attorney for Fulton County, Georgia,
and was investigating a case involving Former President of the United States
Donald J. Trump.
   3. Patrick Labat was the elected Sheriff for Fulton County, Georgia, and was
in charge of the operation of the Fulton County Jail where Fulton County
criminal defendants are often received into custody and photographed.

                                     Count One
   4. The Grand Jury re-alleges and incorporates by reference the factual
allegations contained in paragraphs 1 through 3 of this Indictment as if fully set
forth herein.
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   5. On or about August 6, 2023, in the Northern District of Georgia and
elsewhere, the defendant, ARTHUR RAY HANSON, II, consciously disregarding
a substantial risk that his communication would be viewed as threatening
violence, knowingly transmitted a communication in interstate and foreign
commerce, from the State of Alabama to the State of Georgia, that contained a
threat to injure Fulton County Sheriff Patrick Labat; specifically, HANSON called
the Fulton County Government customer service line and left a voicemail
message for Sheriff Labat in which HANSON made statements, which included,
but were not limited to, the following: "if you think you gonna take a mugshot of
my President Donald Trump and it's gonna be ok, you gonna find out that after
you take that mugshot, some bad shit's probably gonna happen to your "if you
take a mugshot of the President and you're the reason it happened, some bad
shit's gonna happen to your "I'm warning you right now before you fuck up
your life and get hurt real bad;" "whether you got a goddamn badge or not ain't
gonna help you none;" and "you gonna get fucked up you keep fucking with my
President."
   All in violation of Title 18, United States Code, Section 875(c).

                                    Count Two
   6. The Grand Jury re-alleges and incorporates by reference the factual
allegations contained in paragraphs 1 through 3 of this Indictment as if fully set
forth herein.
   7. On or about August 6, 2023, in the Northern District of Georgia and
elsewhere, the defendant, ARTHUR RAY HANSON, II, consciously disregarding
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a substantial risk that his communication would be viewed as threatening
violence, knowingly transmitted a communication in interstate and foreign
commerce, from the State of Alabama to the State of Georgia, that contained a
threat to injure Fulton County District Attorney Fani Willis; specifically,
HANSON called the Fulton County Government customer service line and left a
voicemail message for District Attorney Willis in which HANSON made
statements, which included, but were not limited to, the following: "watch it
when you're going to the car at night, when you're going into your house, watch
everywhere that you're going;" "I would be very afraid if I were you because
you can't be around people all the time that are going to protect you;" "there's
gonna be moments when you're gonna be vulnerable;" "when you charge
Trump on that fourth indictment, anytime you're alone, be looking over your
shoulder;" and "what you put out there, bitch, comes back at you ten times
harder, and don't ever forget it."
   All in violation of Title 18, United States Code, Section 875(c).



                                         A              Z5‘-' 2, 3            BILL



RYAN K. BUCHANAN
 United States Attorney




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